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Name
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Tale ea Ak 7961¢ CLERK, U.S. DISTRICT COURT
City, State, Zip | ANCHORAGE, AK
40)- 403-5505
Telephone

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA

brian Mitchen Smith

(Enter full name of plaintiff in this action)

Case No. S, Ly. CN ip \a7- hy

Plaintiff, (To be supplied by Court)
vs.
Pur sut Collections COMPLAINT UNDER
, THE CIVIL RIGHTS ACT
Alaska Talkeefna Lodge 42 U.S.C. § 1983

(NON-PRISONERS)

(Enter full names of defendant(s) in this action.
Do NOT use ef al.)

Defendant(s).
A. Jurisdiction

Jurisdiction is invoked under 28 U.S.C. § 1343(a)(3) and 42 U.S.C. § 1983. If you
assert jurisdiction under any different or additional authorities, please list them below:

B. Parties

1. Plaintiff: This complaint alleges that the civil rights of Bors'an Mitchel Sinith
(print your name)

who presently resides at fo, Box X35, Talktttna AK WET

(mailing address)

y

were violated by the actions of the individual(s) named below.

Cristopher Moc aya den: ‘
Em. le W, 4

Case 3:23-cv-00197-SLG Document1 Filed 08/31/23 Page 1 of 8
2. Defendants (Make a copy of this page and provide same information if you are naming more than 3
defendants):

a = l a
Defendant No. 1, Gheis stePher Maca TA is a citizen of
> name
CA , and is employed as a en Shick
(state) (defendant's government position/title)

x This defendant personally participated in causing my injury, and | want money
damages.
OR
___The policy or custom of this official's government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something).

‘ Ne
Defendant No. 2, Teme] Wise is a citizen of
(name)
A kK , and is employed as a Admini Steato®

(state) (defendant's government position/title)

x This defendant personally participated in causing my injury, and | want money

damages.

OR
The policy or custom of this official's government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something).

Defendant No. 3, Besece Traces is a citizen of

P (na
N/A , and is employed as a Payton Cleck

" (state) “defendant's government position/title)

X__ This defendant personally participated in causing my injury, and | want money
damages.
OR
____ The policy or custom of this official's government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something).

C. Causes of Action (You may attach additional pages alleging other causes of action and facts
supporting them if necessary. Make copies of page 5 and rename them pages SA, SB, etc. and rename

the claims, “Claim 4,” “Claim 5, etc.”).

PS02 — § 1983 Non-Prisoner
Dec. 2013
Page 2 of 7

Case 3:23-cv-00197-SLG Document1 Filed 08/31/23 Page 2 of 8
Claim 1: On or about § -23-A022 | my civil right to
= (Date)

Ines tive Bonus, oF fer For Kehire/ Untao $n! Fermiaatior

(due process, freedom of religion, free speech, freedom of association and/or assembly, freedom from cruel and
unusual punishment, etc. List only T vio

was violated by_ Alaska Jalkee tna odgf DV Pacsuct Coilech on

(Name of the specific Defendant who'violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 1. State what
happened briefly and clearly, in your own words. Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 1.):

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PS02 — § 1983 Non-Prisoner
Dec. 2013
Page 3 of 7

Case 3:23-Cv-00197-SLG Document 1 Filed 08/31/23 Page 3 of 8
Claim_2: On or about , my civil right to
(Date)

(due process, freedom of religion, free speech, freedom of association and/or assembly, freedom from cruel and
unusual punishment, etc. List only one violation.)

was violated by

(Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 2. State what
happened briefly and clearly, in your own words. Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 2.):

PS02 — § 1983 Non-Prisoner
Dec. 2013
Page 4 of 7

Case 3:23-cv-00197-SLG Document1 Filed 08/31/23 Page 4 of 8
Claim_3: On or about , my civil right to
(Date)

(due process, freedom of religion, free speech, freedom of association and/or assembly, freedom from cruel and
unusual punishment, etc. List only one violation.)

was violated by

(Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 3. State what
happened briefly and clearly, in your own words. Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 3.):

PS02 — § 1983 Non-Prisoner
Dec. 2013
Page 5 of 7

Case 3:23-cv-00197-SLG Document1 Filed 08/31/23 Page 5 of 8
D. Previous Lawsuits

1. Have you begun other lawsuits in state or federal court dealing with the same facts
involved in this action, or otherwise relating to your imprisonment? Yes No

2. If your answer is “Yes,” describe each lawsuit.
a. Lawsuit 1:

Plaintiff(s):

Defendant(s):

Name and location of court:

Docket number: Name of judge:
Approximate date case was filed: Date of final decision:
Disposition: Dismissed Appealed Still pending

Issues Raised:

b. Lawsuit 2:

Plaintiff(s):

Defendant(s):

Name and location of court:

Docket number: Name of judge:
Approximate date case was filed: Date of final decision:
Disposition: Dismissed Appealed Still pending

Issues Raised:

F. Request for Relief

Plaintiff requests that this Court grant the following relief:

1. Damages in the amount of $ 4 0, 000.c0 usd

PS02 — § 1983 Non-Prisoner
Dec. 2013
Page 6 of 7

Case 3:23-cv-00197-SLG Document1 Filed 08/31/23 Page 6 of 8
2. Punitive damages in the amount of $ 5) 0, 800-00
3. An order requiring defendant(s) to Make an ie fC Loc CEC

4. Adeclaration that MY EMP\oyment Lond sactued Obtisake nse ts

\ “= 7 Use pel
5. Other:
Plaintiff demands a trial by jury. a No

DECLARATION UNDER PENALTY OF PERJURY

The undersigned declares under penalty of perjury that s/he is the plaintiff
in the above action, that s/he has read the above civil rights complaint and
that the information contained in the complaint is true and correct.

Executed td 31 S imisSoala walt on 9 rb [2023

(Location) a b (Date)

Bra. 7 Aeczeh

(Plaintiff's Original Signature)

stent e E/26 [2023

Original Signature of Attorney (if any) “ (Date)

Attorney's Address and Telephone Number

PS02 — § 1983 Non-Prisoner
Dec. 2013
Page 7 of 7
Case 3:23-cv-00197-SLG Document1 Filed 08/31/23 Page 7 of 8
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Case 3:23-cv-00197-SLG Document1 Filed 08/31/23 Page 8 of 8
